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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________ District of Delaware
                                  _________________
                                        (State)
 Case number (If known): _________________________ Chapter 11
                                                           _____                                                                     # Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Supply Source Enterprises, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                4 ___
                                              ___ 6 – ___
                                                       4 ___
                                                          5 ___
                                                             0 ___
                                                                0 ___
                                                                   8 ___
                                                                      4 ___
                                                                         2
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                            of business

                                              385         Long Hill Road
                                              ______________________________________________                _______________________________________________
                                              Number          Street                                        Number     Street

                                              ______________________________________________                _______________________________________________
                                                                                                            P.O. Box

                                             Guilford                    CT       06437
                                             ______________________________________________                 _______________________________________________
                                              City                              State     ZIP Code          City                      State      ZIP Code


                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                              New  Haven
                                              ______________________________________________
                                              County                                                        _______________________________________________
                                                                                                            Number     Street

                                                                                                            _______________________________________________

                                                                                                            _______________________________________________
                                                                                                            City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.supplysourceglobal.com/
                                              ____________________________________________________________________________________________________




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Debtor        Supply Source Enterprises, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      # Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          # Partnership (excluding LLP)
                                          # Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                          # Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          # Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          # Railroad (as defined in 11 U.S.C. § 101(44))
                                          # Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          # Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          # Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          # None of the above

                                          B. Check all that apply:

                                          # Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          # Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          # Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4 ___
                                             ___ 2 ___
                                                    4 ___
                                                       9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                      # Chapter 7
                                          # Chapter 9
                                          # Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                 # The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           # The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          # A plan is being filed with this petition.
                                                          # Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          # The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          # The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          # Chapter 12




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Debtor
                  Supply Source Enterprises, Inc.
               _______________________________________________________                       Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        # No
      filed by or against the debtor
      within the last 8 years?           # Yes. District _______________________ When _______________ Case number _________________________
                                                                                               MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                 District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY

 10. Are any bankruptcy cases            # No
      pending or being filed by a
      business partner or an             # Yes. Debtor See Rider
                                                       _____________________________________________ Relationship _________________________
      affiliate of the debtor?                       District Delaware
                                                              _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                        Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         # Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         # A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         # No
      possession of any real             # Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                    # It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                    # It needs to be physically secured or protected from the weather.
                                                    # It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                    # Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                              Number         Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________        _______ ________________
                                                                              City                                           State ZIP Code


                                                    Is the property insured?

                                                    # No
                                                    # Yes. Insurance agency ____________________________________________________________________
                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




              Statistical and administrative information




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Debtor      Supply Source Enterprises, Inc.
            _______________________________________________________                            Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     # Funds will be available for distribution to unsecured creditors.
                                         # After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         # 1-49                             # 1,000-5,000                               # 25,001-50,000
 14. Estimated number of
                                         # 50-99                            # 5,001-10,000                              # 50,001-100,000
     creditors
                                         # 100-199                          # 10,001-25,000                             # More than 100,000
                                         # 200-999

                                         # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 15. Estimated assets
                                         # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion

                                         # $0-$50,000                       # $1,000,001-$10 million                    # $500,000,001-$1 billion
 16. Estimated liabilities
                                         # $50,001-$100,000                 # $10,000,001-$50 million                   # $1,000,000,001-$10 billion
                                         # $100,001-$500,000                # $50,000,001-$100 million                  # $10,000,000,001-$50 billion
                                         # $500,001-$1 million              # $100,000,001-$500 million                 # More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                        05/21/2024
                                            Executed on _________________
                                                        MM / DD / YYYY


                                         "   ________/s/ Laura Marcero_______                           Laura Marcero
                                                                                                        _______________________________________________
                                            Signature of authorized representative of debtor             Printed name


                                            Title Vice President
                                                  _________________________________________




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Debtor      Supply Source Enterprises, Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      "   ________/s/ M. Blake Cleary______________                Date       05/21/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         M. Blake Cleary
                                         _________________________________________________________________________________________________
                                          Printed name

                                         Potter Anderson & Corroon LLP
                                         _________________________________________________________________________________________________
                                          Firm name

                                         1313        North Market Street, 6th Floor
                                         _________________________________________________________________________________________________
                                          Number         Street

                                          Wilmington
                                          ____________________________________________________           DE
                                                                                                         ____________ 19801
                                                                                                                      ______________________________
                                          City                                                           State        ZIP Code

                                          (302) 984-6000
                                          ____________________________________                           bcleary@potteranderson.com
                                                                                                         __________________________________________
                                          Contact phone                                                  Email address



                                          3614                                                   DE
                                          ______________________________________________________ ____________
                                          Bar number                                             State




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                                               Rider

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities below (collectively, the “Debtors”) filed a petition
in the United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of
title 11 of the United States Code. The Debtors have moved for joint administration of these cases
under the case number assigned to the chapter 11 case of Supply Source Enterprises, Inc.

      SSE Intermediate, Inc.

      SSE Buyer, Inc.

      Supply Source Enterprises, Inc.

      Impact Products, LLC

      The Safety Zone, LLC
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    Supply Source Enterprises, Inc., et al.,1               Case No. 24- [____] (___)

                     Debtors.                               (Joint Administration Requested)


             COMBINED CORPORATE OWNERSHIP STATEMENT PURSUANT TO
              FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

             Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Supply Source Enterprises, Inc. and certain of its affiliates, who are or may be debtors and debtors

in possession in the above-captioned cases (each a “Debtor” and collectively, the “Debtors”),

hereby state as follows:

      1. A list of the Debtors’ equity interest holders, their addresses, and the nature of their equity

interests is below.2 No publicly traded corporation owns more than 10% of the Debtors’ equity

interests.

      2. Debtor Impact Products, LLC is 100% owned by Debtor Supply Source Enterprises, Inc.,

located at 385 Long Hill Road, Guilford, Connecticut 06437.

      3. Debtor The Safety Zone, LLC is 100% owned by Debtor Supply Source Enterprises, Inc.,

located at 385 Long Hill Road, Guilford, Connecticut 06437.




1
  The Debtors in these chapter 11 proceedings, together with the last four digits of each Debtor’s federal tax
identification number, are: Supply Source Enterprises, Inc. (0842); SSE Intermediate, Inc. (1772); SSE Buyer, Inc.
(5901); Impact Products, LLC (7450); and The Safety Zone, LLC (4597). The Debtors’ headquarters are located at
385 Long Hill Road, Guilford, Connecticut 06437.
2
 The Debtors reserve the right to supplement or amend the list of the Debtors’ equity interest holders within fourteen
days of the date hereof, pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure.
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   4. Debtor Supply Source Enterprises, Inc. is 100% owned by Debtor SSE Buyer, Inc., located

at 385 Long Hill Road, Guilford, Connecticut 06437.

   5. Debtor SSE Buyer, Inc. is 100% owned by Debtor SSE Intermediate, Inc., located at 385

Long Hill Road, Guilford, Connecticut 06437.

   6. Debtor SSE Intermediate, Inc. is 100% owned by SSE Acquisition Holding, Inc., located

at 385 Long Hill Road, Guilford, Connecticut 06437.




                                               2
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                                                                                                      EXECUTION


                                    Omnibus Written Consent in Lieu of a Meeting of
                                            Supply Source Enterprises, Inc.,
                                        SSE Intermediate, Inc., SSE Buyer, Inc.,
                                    Impact Products, LLC, and The Safety Zone, LLC

                                                             May 20, 2024


                   The undersigned, being (i) all of the members of the boards of directors or the boards of
           managers, or (ii) the sole or managing member, as applicable (in each case, a “Governing Body”
           and collectively, the “Governing Bodies”), of Supply Source Enterprises, Inc., SSE Intermediate,
           Inc., SSE Buyer, Inc., Impact Products, LLC, and The Safety Zone, LLC (each, a “Company” and
           together, the “Companies”), hereby consent, in accordance with the organizational documents of
           each Company and applicable state laws, to the following actions and adopt the following
           resolutions with respect to each Company in lieu of a meeting effective as of the date hereof.

           Chapter 11 Filing

                  WHEREAS, each Governing Body has considered presentations by the financial and legal
           advisors of each of the Companies regarding the liabilities and liquidity situation of each of
           the Companies, the strategic alternatives available to each of the Companies, and the effect of the
           foregoing on each Company’s business;

                   WHEREAS, each Governing Body has had the opportunity to consult with the financial and
           legal advisors of the Companies and fully consider each of the strategic alternatives available to
           the Companies;

                  WHEREAS, each Governing Body has had the opportunity to consult with the financial and
           legal advisors of the Companies and review chapter 11 of title 11 of the United States Code
           (the “Bankruptcy Code”) and the preparation materials provided by the financial and legal advisors,
           and each Governing Body recommends the adoption of these resolutions;

                   NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of each Governing
           Body, it is desirable and in the best interests of each Company (including a consideration of its
           creditors and other parties in interest) that each Company shall be, and hereby is, authorized to file,
           or cause to be filed, a voluntary petition for relief (each a “Chapter 11 Case” and collectively,
           the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the Bankruptcy Code in
           the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) and any
           other petition for relief or recognition or other order that may be desirable under applicable law in
           the United States;

                    FURTHER RESOLVED, that any member, officer, or director of the Companies, or any
          other duly appointed officer or other person acting at the direction of the foregoing officers of each
          Company (collectively, the “Authorized Signatories”), acting alone or with one or more other
          Authorized Signatories be, and they hereby are, authorized, empowered, and directed to execute and
          file on behalf of each Company all petitions, schedules, lists, and other motions, papers, or documents,


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          and to take any and all actions that they deem necessary, proper, or convenient to obtain such relief,
          including, without limitation, any action necessary to maintain the ordinary course operation of each
          Company’s business; and

                    FURTHER RESOLVED, that all acts and deeds previously performed by any of the
          Authorized Signatories or officers of any of the Companies prior to the adoption of the foregoing
          recitals and resolutions that are within the authority conferred by the foregoing recitals and
          resolutions, are hereby ratified, confirmed, and approved in all respects as the authorized acts and
          deeds of the Companies.

           Retention of Professionals

                  WHEREAS, each Governing Body has considered presentations by the financial and legal
           advisors of each Company regarding the retention of such financial and legal advisors by each
           Company.

                   NOW, THEREFORE, BE IT RESOLVED, that each of the Authorized Signatories be, and
           hereby is, authorized, empowered, and directed to employ the law firm of McDermott Will &
           Emery LLP (“McDermott”) as bankruptcy co-counsel to represent and assist each Company in
           carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
           Company’s rights and obligations, including filing any motions, objections, replies, applications,
           or pleadings; and in connection therewith, each of the Authorized Signatories, with power of
           delegation, is hereby authorized, empowered, and directed to execute appropriate retention
           agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
           for authority to retain the services of McDermott;

                    FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized, empowered, and directed to employ the law firm of Potter Anderson & Corroon LLP
           (“Potter Anderson”) as bankruptcy co-counsel to represent and assist each Company in carrying out
           its duties under the Bankruptcy Code, and to take any and all actions to advance each Company’s
           rights and obligations, including filing any motions, objections, replies, applications, or pleadings;
           and in connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
           authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate
           retainers and fees, and to cause to be filed an appropriate application for authority to retain the
           services of Potter Anderson;

                   FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized, empowered, and directed to employ the firm of Triple P RTS, LLC (“Portage Point
           Partners”) to provide Thomas Studebaker, as Chief Restructuring Officer and to provide additional
           personnel to provide restructuring services and to represent and assist each Company in carrying out
           its duties under the Bankruptcy Code, and to take any and all actions to advance each of each
           Company’s rights and obligations; and in connection therewith, each of the Authorized Signatories,
           with power of delegation, is hereby authorized, empowered, and directed to execute appropriate
           retention agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate
           application for authority to retain the services of Portage Point Partners;
                                                                2


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                   FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized, empowered, and directed to employ the firm of Kurtzman Carson Consultants LLC
           (“KCC”) as notice and claims agent to represent and assist each Company in carrying out its duties
           under the Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
           obligations; and in connection therewith, each of the Authorized Signatories, with power of
           delegation, is hereby authorized, empowered, and directed to execute appropriate retention
           agreements, pay appropriate retainers and fees, and to cause to be filed appropriate applications for
           authority to retain the services of KCC;

                   FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized, empowered, and directed to employ any other professionals to assist each Company in
           carrying out its duties under the Bankruptcy Code; and in connection therewith, each of the
           Authorized Signatories, with power of delegation, is hereby authorized, empowered, and directed
           to execute appropriate retention agreements, pay appropriate retainers and fees, and to cause to be
           filed an appropriate application for authority to retain the services of any other professionals as
           necessary, proper, or convenient; and

                  FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is, with
           the power of delegation, authorized, empowered, and directed to execute and file all petitions,
           schedules, motions, lists, applications, pleadings, and other papers, and, in connection therewith, to
           employ and retain all assistance by legal counsel, accountants, financial advisors, and other
           professionals and to take and perform any and all further acts and deeds that each of the Authorized
           Signatories deem necessary, proper, or desirable in connection with each Company’s
           Chapter 11 Case, with a view to the successful prosecution of such case.

           Debtor-in-Possession Financing, Cash Collateral, and Adequate Protection

                  WHEREAS, the Companies are party to that certain Credit Agreement, dated as of
           June 30, 2020 (as may be amended, restated, amended and restated, modified, or supplemented
           from time to time) (the “Term Loan Credit Facility”), with the guarantors and lenders party thereto
           and Ares Capital Corporation as the administrative agent (the “Term Loan Agent”);

                  WHEREAS, the Companies are party to that certain Credit Agreement, dated as of
           June 30, 2022 (as may be amended, restated, amended and restated, modified, or supplemented
           from time to time) (the “ABL Credit Facility” and, together with the Term Loan Credit Facility,
           the “Prepetition Credit Agreements”), with the guarantors and lenders party thereto and
           ACF Finco I LP as the administrative agent (the “ABL Loan Agent” and, together with the Term
           Loan Agent, the ”Prepetition Agents”); and

                  WHEREAS, reference is made to that certain Debtor In Possession Secured Multi-Draw
           Term Promissory Note (together with any and all exhibits, schedules, and annexes thereto, the “DIP
           Credit Agreement”) providing for a secured term loan financing facility of up to $60 million in the
                                                                3


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           aggregate (together with all exhibits, schedules, and annexes thereto, as amended, amended and
           restated, supplemented, or otherwise modified from time to time, the “DIP Facility”) dated as of, or
           about, the date hereof, that sets forth the terms and conditions of the debtor-in-possession credit
           financing to be provided to the Companies by the lenders listed therein and party thereto from time
           to time (the “DIP Lenders”) and the administrative agent(s) thereto (the “DIP Agents”).

                   NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Governing Body of
           each Company, each such Company will receive benefits from the DIP Credit Agreement and the
           loans contemplated thereunder, and it is desirable and in the best interest of each such Company,
           each such Company’s equity holders, creditors, and other parties in interest that the form, terms,
           and provisions of (i) that certain DIP Credit Agreement and (ii) the Collateral Documents (as
           defined in the DIP Credit Agreement) to which the Companies are a party, all other documents,
           agreements, instruments or certificates, intellectual property security agreements, joinders, and
           consents to be executed, delivered, or filed by each such Company in connection therewith, and the
           transactions contemplated by the DIP Credit Agreement and the other Collateral Documents (as
           defined in the DIP Credit Agreement) (in each case including, without limitation, the borrowings
           and other extensions of credit thereunder, and the guaranties, liabilities, obligations, security
           interest granted, and notes issued, if any, in connection therewith) be, and hereby are, authorized,
           adopted, and approved in substantially the form presented to the Governing Body of each Company,
           together with such changes as may be approved by the Authorized Signatories executing and
           delivering the same, such approval to be conclusively evidenced by such Authorized Signatory’s
           execution and delivery thereof;

                   FURTHER RESOLVED, that the Governing Body of each Company has determined that
           it is necessary and in the best interest of each such Company’s business and affairs, each such
           Company’s equity holders, creditors, and all other parties in interest that the form, terms, and
           provisions of (i) that certain DIP Credit Agreement, in substantially the form presented to
           the Governing Body of each Company to execute, deliver, and perform the DIP Credit Agreement
           and (ii) the other Collateral Documents (as defined in the DIP Credit Agreement) to which it is a
           party, to perform such Company’s obligations thereunder and to consummate the transactions
           contemplated thereby, including, without limitation, any borrowings, the performance of any
           guarantees and the granting of any security interests and liens, and each such Company’s execution
           and delivery of, and the incurrence and performance of its obligations in connection with,
           the DIP Credit Agreement, including, without limitation, the guarantee of the Obligations (as
           defined in the DIP Credit Agreement) thereunder, and any other DIP Document (as defined in
           the DIP Credit Agreement) to which it is a party, and the consummation of the transactions
           contemplated thereby or entered into in connection with the Collateral Documents (as defined in
           the DIP Credit Agreement), including, without limitation, any borrowing by any Company under
           the Collateral Documents (as defined in the DIP Credit Agreement), are hereby, in all respects,
           authorized and approved;

                   FURTHER RESOLVED, that each Company will obtain benefits from (a) the use of
           collateral, including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
           (the “Cash Collateral”), which is security for certain prepetition secured lenders (collectively,
           the “Prepetition Secured Lenders”) under the Prepetition Credit Agreements, and (b) the incurrence
                                                                4


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           of debtor-in-possession financing obligations pursuant to the DIP Facility (collectively,
           the “DIP Financing”);

                   FURTHER RESOLVED, that to use and obtain the benefits of (a) the DIP Financing and
           (b) the Cash Collateral, and in accordance with section 363 of the Bankruptcy Code, the Companies
           will provide certain liens, claims, and adequate protection to the Prepetition Secured Lenders and to
           the DIP Lenders to secure the obligations of such Company under the DIP Facility (the “DIP
           Obligations”) as documented in a proposed order in interim and final form (the “DIP Orders”),
           authorizing and approving the DIP Credit Agreement, the other Collateral Documents (as defined
           in the DIP Credit Agreement), and the transactions thereby, and submitted for approval to the
           Bankruptcy Court;

                   FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
           each Company is or will be subject, and the actions and transactions contemplated thereby, are
           hereby authorized, adopted, and approved, and each of the Authorized Signatories of each such
           Company be, and hereby is, authorized and empowered, in the name of and on behalf of each such
           Company, to negotiate, or cause to be prepared and negotiated, and to take such actions necessary
           to execute, deliver, perform, and cause the performance of, each DIP Order and such other
           agreements, certificates, instruments, receipts, petitions, motions, or other papers or documents
           relating to the transactions contemplated thereby to which each such Company is or will be a party,
           including, but not limited to, any security agreements, pledge agreements, guaranty agreement,
           assignment documents, notices, financing statements, mortgages, intellectual property filings, tax
           affidavits, fee letters, and other instruments as any of the DIP Agents or requisite DIP Lenders may
           reasonably request or as may be necessary or appropriate to create, preserve, and perfect the
           liens of the DIP Agents or the Prepetition Agents, purported or required pursuant to any of the
           transaction documents to be created in the Collateral (as defined in the DIP Credit Agreement (or
           similar term defined therein)), such agreements with third parties (including, without limitation,
           bank agency agreements, lockbox agreements, control agreements, landlord agreements, and
           warehouse letters) relating to the Collateral (as defined in the DIP Credit Agreement (or similar
           term defined therein)), any swap contracts or hedging agreements and such other loan documents,
           guarantees, instruments, certificates, and documents as may be reasonably requested by any of the
           DIP Agents and the requisite DIP Lenders, or required by the DIP Orders, DIP Credit Agreement,
           or any of the foregoing (collectively with the DIP Orders, the “DIP Documents”), with such
           changes, additions, and modifications thereto as any Authorized Signatory executing the same shall
           approve, such approval to be conclusively evidenced by such Authorized Signatory’s execution and
           delivery thereof;

                   FURTHER RESOLVED, that the incurrence of the liabilities and obligations arising from
           each DIP Order and each DIP Document by the Companies party thereto, (i) is necessary and
           convenient to the conduct, promotion, and attainment of the business of such Companies, and
           (ii) may reasonably be expected to benefit such Companies, directly or indirectly;

                  FURTHER RESOLVED, that each Company, as debtor and debtors-in-possession under
           the Bankruptcy Code be, and hereby is, authorized to incur the DIP Obligations, including the
           borrowing of the loans under the DIP Credit Agreement and other obligations related to the DIP
                                                                5


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           Financing, and to undertake any and all related transactions on substantially the same terms as
           contemplated under the DIP Documents, including granting liens on and security interests in its
           assets, including the Collateral (as defined in the DIP Credit Agreement (or similar term defined
           therein)), to the DIP Agents or the Prepetition Agents to secure such obligations (collectively,
           the “DIP Transactions”);

                   FURTHER RESOLVED, that each of the Authorized Signatories of each Company, acting
           alone or with one or more other Authorized Signatories, be, and hereby is, authorized, directed, and
           empowered in the name of, and on behalf of, each such Company, as debtors and debtors-in-
           possession, to take such actions as in their discretion is determined to be necessary, desirable, or
           appropriate to execute the DIP Transactions, including the negotiation, execution, and delivery of:
           (a) the DIP Documents; (b) such other instruments, certificates, notices, assignments, and other
           documents, including, without limitation, any amendments to any DIP Documents, as may be
           reasonably requested by the DIP Agents; and (c) such forms of deposit account control agreements,
           officer’s certificates, and compliance certificates as may be required by the DIP Documents, in the
           name of and on behalf of each Company, with such changes therein as shall be approved by the
           Authorized Signatories executing the same, with such execution by said Authorized Signatory to
           constitute conclusive evidence of his or her approval of the terms thereof, including any departures
           therein from any form presented to the Governing Bodies of such Companies;

                   FURTHER RESOLVED, that each of the Authorized Signatories of each Company, acting
           alone or with one or more other Authorized Signatories, be, and hereby is, authorized, directed, and
           empowered in the name of, and on behalf of, each such Company, as debtors and
           debtors-in-possession, to guarantee the DIP Obligations under the DIP Documents and to assign,
           transfer, pledge, and grant to each DIP Agent or the Prepetition Agents, for the ratable benefit of the
           respective or applicable Secured Parties (as defined in the DIP Credit Agreement (or similar term
           defined therein)), a security interest in all or substantially all the assets of such Company, as
           collateral security for the prompt and complete payment and performance when due of
           the DIP Obligations under the DIP Credit Agreements, the DIP Orders, and the other DIP
           Documents to which such Company is a party or which it is subject to, and to take or cause to be
           taken any such actions as may be necessary, appropriate, or desirable to cause the Companies to
           create, perfect, and maintain a security interest in such Companies’ property or assets constituting
           Collateral (as defined in the DIP Credit Agreement (or similar term defined therein)) as described
           or contemplated in the DIP Documents;

                   FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized and empowered to take all actions or to not take any action in the name of each Company
           with respect to the transactions contemplated by these resolutions, whether existing now or in the
           future, in each case, as such Authorized Signatory shall deem necessary or desirable in such
           Authorized Signatory’s reasonable business judgment, including without limitation, the
           authorization of resolutions and agreements necessary to authorize the execution, delivery, and
           performance pursuant to the DIP Documents (including, without limitation, certificates, affidavits,
           financing statements, notices, reaffirmations, and amendments and restatements thereof or relating
           thereto) as may be necessary, appropriate, or convenient to effectuate the purposes of the
           transactions contemplated therein;
                                                                6


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                    FURTHER RESOLVED, that each of the Authorized Signatories of each Company be, and
           hereby is, authorized, directed, and empowered in the name of, and on behalf of, each Company to
           file, or to authorize the DIP Agents to file, any Uniform Commercial Code (the “UCC”) financing
           statements, any other equivalent filings, any intellectual property filings and recordation, and any
           necessary assignments for security or other documents in the name each Company that
           the DIP Agents or the Prepetition Agents deem necessary or appropriate to perfect any lien or
           security interest granted under the DIP Orders and the DIP Documents, including any such UCC
           financing statement containing a generic description of collateral, such as “all assets,” “all property
           now or hereafter acquired,” and other similar descriptions of like import, and to execute and deliver,
           and to record, or authorize the recording of, such mortgages and deeds of trust in respect of real
           property of each Company and such other filings in respect of intellectual and other property of
           each such Company, in each case as the DIP Agents or the Prepetition Agents may reasonably
           request to perfect the security interests of the DIP Agents or the Prepetition Agents under the DIP
           Orders or any of the other DIP Documents;

                   FURTHER RESOLVED, that each of the Authorized Signatories of each Company be, and
           hereby is, authorized, directed, and empowered in the name of, and on behalf of, each Company to
           take all such further actions, including, without limitation, to pay all fees and expenses payable in
           accordance with the terms of the DIP Documents, to arrange for and enter into supplemental
           agreements, amendments, instruments, certificates, or documents relating to the transactions
           contemplated by any of the DIP Documents and to execute and deliver all such supplemental
           agreements, amendments, instruments, certificates, or documents in the name and on behalf of each
           of the Companies, which shall in their sole judgment be necessary, proper, or advisable in order to
           perform such Companies’ obligations under, or in connection with, any of the DIP Documents and
           the transactions contemplated therein (execution by such Authorized Signatory to constitute
           conclusive evidence of such judgment), and to carry out fully the intent of the foregoing resolution.
           The performance of any such further act or thing and the execution of any such document or
           instrument by any of the Authorized Signatories of the Companies pursuant to these resolutions
           shall be conclusive evidence that the same have been authorized and approved by the Companies
           in every respect; and

                   FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
           authorized to execute and deliver to the DIP Agents or the Prepetition Agents, as applicable, and to
           perform the applicable Company’s obligations under, all other documents, certificates, instruments,
           agreements, and writings including any interest rate swaps, caps, collars, or similar hedging
           agreement and any financing statements (or amendments thereto) that may be contemplated by, or
           required in connection with, the DIP Documents, these resolutions, and the transactions described
           herein and therein, and to do all such acts and things as any person hereinafter authorized to execute
           such documents on behalf of such Company determines to be necessary or advisable in connection
           with, or as contemplated by, or for the purpose of giving effect to, or carrying out the provisions
           of, the DIP Documents, such determination to be conclusively evidenced by such person’s signature
           thereon or completion thereof, as applicable.


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           Stalking Horse Asset Purchase Agreement

                  BE IT RESOLVED, that in connection with the Chapter 11 Cases, the Governing Bodies of
           Supply Source Enterprises, Inc., Impact Products, LLC, and The Safety Zone, LLC (each an “APA
           Signatory” and, together, the “APA Signatories”) have determined that it is in the best interests of
           the Company and its stakeholders that the APA Signatories enter into, and the Companies and their
           stakeholders will obtain benefits from, the transactions contemplated by that certain Asset Purchase
           Agreement (the “Stalking Horse APA”) with TZ SSE Buyer LLC, on the terms and conditions
           substantially similar to those set forth in the form previously provided to the APA Signatories’
           Governing Bodies, and with such changes thereto as the Authorized Signatories executing the same
           shall approve, and any other agreements, consents, certificates, amendments, assignments, and
           instruments in connection therewith (together with the Stalking Horse APA, the “Sale Documents”),
           in each case subject to approval by the Bankruptcy Court;

                 FURTHER RESOLVED, that the form, terms, and provisions of each of the Sale Documents
           and each of the APA Signatories’ performance of its obligations thereunder, are hereby, in all
           respects confirmed, ratified, and approved;

                 FURTHER RESOLVED, that any Authorized Signatory is hereby authorized, empowered,
           and directed, in the name and on behalf of each of the APA Signatories, to cause the APA Signatories
           to negotiate and approve the terms, provisions of, and performance of, and to prepare, execute and
           deliver the Sale Documents, in the name and on behalf of the APA Signatories, and such other
           documents, agreements, instruments, and certificates as such Authorized Officer executing the same
           considers necessary, appropriate, proper, or desirable to effectuate the transactions contemplated by
           the Sale Documents;

                 FURTHER RESOLVED, that any Authorized Signatory is hereby authorized, empowered,
           and directed, in the name and on behalf of each of the APA Signatories, to take all such further
           actions, including to pay all fees and expenses, in accordance with the terms of the Sale Documents,
           which shall, in such Authorized Signatory’s sole judgment, be necessary, proper, or advisable to
           perform the APA Signatory’s obligations under or in connection with the Sale Documents and the
           transactions contemplated therein and to carry out fully the intent of the foregoing resolutions; and
           be it

                 FURTHER RESOLVED, that any Authorized Signatory is hereby authorized, empowered,
           and directed, in the name and on behalf of each of the APA Signatories, to execute and deliver any
           amendments, supplements, modifications, renewals, replacements, consolidations, substitutions, and
           extensions of the Sale Documents which shall, in such Authorized Officer’s sole judgment, be
           necessary, proper, or advisable.

           General Resolutions

                 NOW, THEREFORE, BE IT RESOLVED, that the Authorized Signatories of each of the
           Companies be, and each of them hereby is, authorized, empowered, and directed to execute,
           acknowledge, verify, deliver, and file any and all such other agreements, documents, instruments,
                                                                8


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           and/or certificates and to take such other actions as may be necessary, proper, or appropriate in
           order to carry out the intent and purposes of any of the foregoing resolutions;

                   FURTHER RESOLVED, that each Governing Body of each Company has received
           sufficient notices of the actions and transactions relating to the matters contemplated by any of the
           foregoing resolutions, as may be required by the organizational documents of each Company, or
           hereby waive any right to have received such notices;

                   FURTHER RESOLVED, that each of the members of the board of managers, board of
           directors, restructuring committees, the sole member, the manager or the managing member, as
           applicable, hereby irrevocably waives notice of the time, place, and purposes of a Meeting and any
           adjournments thereof, to the extent such notice is required by the applicable organizational
           documents of each Company;

                   FURTHER RESOLVED, that any and all actions heretofore or hereafter taken and expenses
           incurred in the name of and on behalf of any Company by any officer, director, or other Authorized
           Signatory of any Company in connection with or related to the matters set forth or contemplated by
           any of the foregoing resolutions be, and they hereby are, approved, ratified, and confirmed in all
           respects as fully as if such actions had been presented to the Governing Bodies for approval prior
           to such actions being taken; and

                  FURTHER RESOLVED, that any Authorized Signatory of any of the Companies is hereby
           authorized to certify to third parties with respect to adoption of any of the foregoing resolutions in
           the form and substance satisfactory to them.

                                             [Remainder of page intentionally left blank]




                                                                9


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               The undersigned agree that this Omnibus Action by Written Consent in Lieu of a Meeting of
           the Governing Bodies shall be added to the corporate records of each Company and made a part
           thereof, and the undersigned further agree that the resolutions set forth hereinabove shall have the
           same force and effect as if adopted at a meeting duly noticed, held, called, and constituted pursuant
           to each Company’s organizational documents and the applicable laws of the jurisdiction in which
           such Company is organized. Facsimile, scanned, or electronic signatures shall be acceptable as
           originals.

                                                    [Signature pages follow]




                                                                10


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                IN WITNESS WHEREOF, the undersigned has executed this Omnibus Action by Written
          Consent as of the date first written above.




                                                                       BOARD OF DIRECTORS OF SUPPLY
                                                                       SOURCE ENTERPRISES, INC.:



                                                                       ____________________________________
                                                                       Laura Marcero


                                                                       BOARD OF DIRECTORS OF:
                                                                       SSE BUYER, INC.
                                                                       SSE INTERMEDIATE, INC.




                                                                       ____________________________________
                                                                       Rahul Vinnakota



                                                                       ____________________________________
                                                                       Vivek Jain



                                                                       ____________________________________
                                                                       Steven Kozhimala


                                                                       SOLE MEMBER OF IMPACT PRODUCTS,
                                                                       LLC:

                                                                       SUPPLY SOURCE ENTERPRISES, INC.



                                                                       ________________________________
                                                                       By: Laura Marcero
                                                                       Its: Vice President


                                           [Signature Page to Omnibus Action by Written Consent]
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                                                                       SOLE MEMBER OF THE SAFETY ZONE,
                                                                       LLC:

                                                                       SUPPLY SOURCE ENTERPRISES, INC.



                                                                       ________________________________
                                                                       By: Laura Marcero
                                                                       Its: Vice President




                                           [Signature Page to Omnibus Action by Written Consent]
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Fill in this information to identify the case:

Debtor name:Supply Source Enterprises, Inc., et al .,

United States Bankruptcy Court for the District of Delaware
                                                                                                                                                                                            Check if this is an
Case number (If known):                                                                                                                                                                     amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                                                           12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is
an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
holders of the 30 largest unsecured claims.

Name of creditor and complete                             Name, telephone number, and                     Nature of the claim   Indicate if       Amount of unsecured claim
mailing address, including zip code                       email address of creditor                       (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                                          contact                                         debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                                                          professional          unliquidated,    total claim amount and deduction for value of
                                                                                                          services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                                                          government
                                                                                                          contracts)
                                                                                                                                                 Total claim, if       Deduction for        Unsecured
                                                                                                                                                 partially             value of             claim
                                                                                                                                                 secured               collateral or
                                                                                                                                                                       setoff


1    SHIJIAZHUANG HONGRAY GROUP                                                                           TRADE                                                                              $       5,843,992.06
     NO 135 XINHUA WEST ROAD                              PHONE: 86-311-3613127
     JINZHOU, FC                                          FAX: 86-311-3634221
     CHINA                                                EMAIL: DANDAN@HONGRAY.COM.CN;
                                                          LIFENGLEI@HONGRAY.COM.CN



2    ZHONGHONG PULIN MEDICAL PRODUCTS CO                                                                  TRADE                                                                              $       2,986,423.80
     LTD                                                  PHONE: 86-315-4169201
     WEST INDUSTRIAL ZONE LUANNAN                         FAX: 86-315-4169201
     TANGSHAN                                             EMAIL: DANNY@ZHONGHONGPULIN.CN;
     TANGSHAN, FC 63500                                   HAJIA.LIU@ZHONGHONGPULIN.CN
     CHINA


3    SHANDONG SHANGWEI MEDICAL PRODUCTS                                                                   TRADE                                                                              $       1,936,011.20
     CO., LTD                                             PHONE: 530-2069711
     SONGHUAJIANG RD, CAOXIAN SHANDONG                    FAX: 530-2069778
     PROVINCE, P.R. CHINA                                 EMAIL: KAYLA@SDSWMED.COM;
     HEZE, FC 274400                                      ALINA@SDSWMED.COM
     CHINA


4    VIRTUAL TRANSPORTATION MGMNT                                                                         TRADE                                                                              $       1,484,226.02
     2027 OTIS DR. APT D                                  EMAIL: ALLISONKIDD-PROBST@VTM.COM;
     ALAMEDA, CA 94501-5656                               KAMALESHV@VTM.COM; NANCYB@VTM.COM;
                                                          LOGUS@VTM.COM; DARCARTER@VTM.COM;
                                                          SCOTTSHEARON@VTM.COM;
                                                          CARRIERSUPPORT@VTM.COM


5    LAUFER GROUP INTERNATIONAL, LT                                                                       TRADE                                                                              $       1,418,741.31
     PO BOX 780977 1663                                   PHONE: 212-945-6000
     PHILADELPHIA, PA 19178-0977                          EMAIL: PAYMENTS@LAUFER.COM




6    B&B MOLDED PRODUCTS INC                                                                              TRADE                                                                              $       1,371,734.18
     1250 OTTAWA AVE                                      PHONE: 419-592-8700
     DEFIANCE, OH 43512                                   FAX: 419-592-0209
                                                          EMAIL: KBARE@BBMOLDED.COM;
                                                          DSCHWIEBERT@BBMOLDED.COM;
                                                          KBARE@BBMOLDED.COM;
                                                          KBOSMA@BBMOLDED.COM;
                                                          AGRAY@BBMOLDED.COM;
                                                          JHARTFORD@BBMOLDED.COM
7    PT UNIVERSAL GLOVES                                                                                  TRADE                                                                              $       1,281,436.50
     JALAN PERTAHANAN NO 17 PATUMBAK DELI                 PHONE: (62) XX-XXXXXXX
     SERDANG                                              FAX: 62-617-883411
     SUMATRA, FC 20361                                    EMAIL: ELVINA@UNI-LATEX.COM;
     INDONESIA                                            TRIXIE@UNI-LATEX.COM




Official Form 204                                             Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                      Page 1
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Name of creditor and complete                 Name, telephone number, and               Nature of the claim   Indicate if      Amount of unsecured claim
mailing address, including zip code           email address of creditor                 (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                                   debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                        professional          unliquidated,   total claim amount and deduction for value of
                                                                                        services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                        government
                                                                                        contracts)
                                                                                                                              Total claim, if       Deduction for        Unsecured
                                                                                                                              partially             value of             claim
                                                                                                                              secured               collateral or
                                                                                                                                                    setoff


8    LIAONING SHANGWEI MEDICAL PROD                                                     TRADE                                                                             $         996,749.75
     CHENGIVAN DEV. ZONE DIAOBINGSHAN         EMAIL: KAYLA@SDSWMED.COM;
     TIELING, FC 112700                       ALINA@SDSWMED.COM
     CHINA




9    JIANGSU BYTECH MEDICAL SUPPLIES CO.,                                               TRADE                                                                             $         699,659.00
     LTD.                                     EMAIL: ANNA@BYTECH-DT.COM;
     NO. 88 JUNSHI ROAD,PETROLEUM             ANDY@BYTECH-DT.COM
     EQUIPMENT INDUSTRIAL PARK
     YANCHENG, FC 224700
     CHINA


10   PALMER LOGISTICS                                                                   TRADE                                                                             $         651,452.49
     HOU1028 PO BOX 650998 2117               EMAIL: AR@PALMERFIXTURE.COM
     DALLAS, TX 75265-0998




11   HEBEI ASTRO MEDICAL SUPPLY CO                                                      TRADE                                                                             $         632,085.20
     JINZHOU ECONOMIC DEVELOPMENT HEBEI       PHONE: 31185125618
     PROVINCE, CHINA                          FAX: 3-118-512-5626
     JINZHOU, FC 52260                        EMAIL: SALES@WALLYPLASTIC.COM
     CHINA



12   XIANTAO CROSSCARE PRODUCTS                                                         TRADE                                                                             $         612,339.18
     168#XINMING RD GAOJIADU VILLAGE          PHONE: 155-72886866
     XIANTAO, FC 433000                       EMAIL: CROSSCARE_CHONY@163.COM
     CHINA




13   ANHUI BYTECH MEDICAL SUPPLIES                                                      TRADE                                                                             $         599,957.50
     THE NORTH NEW ECONOMIC DEVELOPMENT       PHONE: 86-510-85093588
     AREA                                     FAX: 86-510-85731588
     SUZHOU, FC 234200                        EMAIL: ANNA@BYTECH-DT.COM;
     CHINA                                    ANDY@BYTECH-DT.COM



14   XIANTAO DEMING HEALTHCARE PRODUCTS                                                 TRADE                                                                             $         557,256.05
     CO LTD                                   PHONE: 728-261-4666
     NO. 198 PENGCHEANG AVE PENGCHANG         FAX: 728-261-2364
     TOWN                                     EMAIL: DEMING817@VIP.SINA.COM
     XIANTAO, FC 433000
     CHINA


15   FUJIAN CASHION GARMENT CO., LT                                                     TRADE                                                                             $         535,622.10
     T 06,25 / F., BLOCK A, WORLDWI NO. 158 WUSI EMAIL: JACKIE@CASHION-CN.COM
     ROAD 4057
     FUZHOU, FC
     CHINA



16   GUANGDONG KINGFA SCI AND TECH                                                      TRADE                                                                             $         515,222.25
     NO. 28 DELONG ROAD QINGCHEN DIST         PHONE: 891-3223
     QINGYUAN, FC 510663                      EMAIL: GUOCHU@KINGFA.COM.CN
     CHINA




17   DIPPED PRODUCTS LIMITED                                                            TRADE                                                                             $         477,834.86
     400 DEANS ROAD COLUMBIO 10               EMAIL: THAKSHILA.W@DPLGROUP.COM
     SRI LANKA,
     SRI LANKA




Official Form 204                                Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                Page 2
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Name of creditor and complete                  Name, telephone number, and               Nature of the claim   Indicate if      Amount of unsecured claim
mailing address, including zip code            email address of creditor                 (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                                   debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                         professional          unliquidated,   total claim amount and deduction for value of
                                                                                         services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                         government
                                                                                         contracts)
                                                                                                                               Total claim, if       Deduction for        Unsecured
                                                                                                                               partially             value of             claim
                                                                                                                               secured               collateral or
                                                                                                                                                     setoff


18   FENGCHENG ZHONGHE PAPER PROD                                                        TRADE                                                                             $         465,471.80
     NO. 109-1 XIJIANTING STREET               PHONE: 86-415-8124899
     FENGCHENG, FC 118100                      FAX: 86-415-8124899
     CHINA                                     EMAIL: ZHONGHEPAPER@126.COM




19   SHAMROCK MOLDED PRODUCTS                                                            TRADE                                                                             $         413,442.90
     1440 HOLLOWAY UNIT 2                      PHONE: 419-865-2548
     HOLLAND, OH 43528-8608                    FAX: 419-865-3326
                                               EMAIL: HALEY@DOYLESHAMROCK.COM;
                                               JESSICA@DOYLESHAMROCK.COM



20   HENG YUAN PLASTIC PRODUCTS LTD                                                      TRADE                                                                             $         407,393.85
     3224 GUODAO MAAN TOWN HUICHENG            PHONE: 380-966-9710
     DISTRICT                                  FAX: 86-852-3616883
     HUIZHOU, FC 516001                        EMAIL: LIUXUE2012@126.COM
     CHINA



21   RAYEN HEALTHCARE PRODUCTS LTD                                                       TRADE                                                                             $         403,801.70
     BENCHENG TOWN LUANNAN COUNTY              PHONE: 86-315-4169377
     TANGSHAN, FC 63500                        FAX: 86-315-4169376
     CHINA                                     EMAIL: RAYENHEALTHCARE@126.COM




22   SHANDONG HENGSHEN HAIRUN MEDIC                                                      TRADE                                                                             $         397,191.00
     NO. 39, WEIQIAO ALUMINUM DEEP         EMAIL: ALICE@HSHR1118.COM
     PROCESSING INDUSTRIAL PARK PROCESSING
     INDUSTRIAL PARK
     ZOUPING, FC 256206
     CHINA


23   HUBEI QIFU PROTECTIVE PRODUCTS                                                      TRADE                                                                             $         394,327.52
     ZHIBUWAN VILLAGE, PENGCHANG AV            EMAIL: HBYHB@VIP.163.COM
     XIANTAO CITY 1332
     XIANTAO, FC 433000
     CHINA



24   HITEN NONWOVEN HEALTHCARE PROD                                                      TRADE                                                                             $         378,271.60
     NO. 29 PENGCHANG AVE XIANTAO CITY 4106    EMAIL: XTHAITENGWANG@163.COM;
     XIANTAO, FC                               STEVEN@HITEN.COM.CN
     CHINA




25   XIANTAO YILIN PROTECTIVE PROD                                                       TRADE                                                                             $         372,012.63
     NO. 19 JIANSHE ROAD PENGCHANG AVE         EMAIL: KOBE-CARE@VIP.163.COM
     XIANTAO, FC 43300
     CHINA




26   CAPSTONE LOGISTICS                                                                  TRADE                                                                             $         338,200.55
     3086 MOMENTUM PLACE                       EMAIL:
     CHICAGO, IL 60689                         JUANITA.CARD@CAPSTONELOGISTICS.COM;
                                               JUANITA.CARD@CAPSTONELOGISTICS.COM;
                                               RACHEL.TAYLOR@CAPSTONELOGISTICS.COM;
                                               STEPHANIE.RITZ@CAPSTONELOGISTICS.COM;
                                               JULIANA.SALCEDO@CAPSTONELOGISTICS.COM;
                                               RACHEL.TAYLOR@CAPSTONELOGISTICS.COM;
                                               TYSON.REHMER@CAPSTONELOGISTICS.COM


27   PA TIN DA GROUP CO LTD                                                              TRADE                                                                             $         329,088.19
     B306-406 CLOUD CITY NO. 1933 HUAGUAN RD   PHONE: 86 203 881 8784
     TIANHE DISTRICT                           FAX: 86 023 886 7281
     GUANGZHOU, FC 510663                      EMAIL: SHIRLEY@MICROFIBERCHINA.COM;
     CHINA                                     OLIVIA@MICROFIBERCHINA.COM




Official Form 204                                 Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                Page 3
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Name of creditor and complete             Name, telephone number, and               Nature of the claim   Indicate if      Amount of unsecured claim
mailing address, including zip code       email address of creditor                 (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                          contact                                   debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                    professional          unliquidated,   total claim amount and deduction for value of
                                                                                    services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                    government
                                                                                    contracts)
                                                                                                                          Total claim, if       Deduction for        Unsecured
                                                                                                                          partially             value of             claim
                                                                                                                          secured               collateral or
                                                                                                                                                setoff


28   TAICANG UNION CLEAN CO., LTD                                                   TRADE                                                                             $         326,199.11
     NO 80 SHALU RD, HUNGJING TOWN        PHONE: 18121551688
     TAICANG, FC 215427                   EMAIL: SALES2@UCMICROFIBER.COM
     CHINA




29   AVISION SALES GROUP I&I SALES                                                  TRADE                                                                             $         300,000.00
     GROUP PO BOX 947929 LOCKBOX NUMBER   PHONE: 610-971-9005
     865929                               FAX: 610-971-9005
     ATLANTA, GA 30394-7929               EMAIL: TONY_LASITA@AVISION.COM




30   ZHANGJIAGANG JIAWEN PLASTIC PRODUCTS                                           TRADE                                                                             $         283,469.20
     FACTORY                              PHONE: 39001567966
     NO197 SHUANGLONG RD FENGHUANG TOWN EMAIL: FANNYJIAWEN@163.COM;
     ZHONGJIANCHANG, FC                   3287624837@QQ.COM
     CHINA




Official Form 204                            Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                Page 4
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 Fill in this information to identify the case and this filing:

 Debtor Name Supply Source Enterprises, Inc.
 United States Bankruptcy Court for the:                        District of Delaware
                                                                            (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.


          Declaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
          individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)


              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


              Schedule H: Codebtors (Official Form 206H)


              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


              Amended Schedule


         x     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         x     Other document that requires a declaration Combined Corporate Ownership Statement and Certification of Debtors’ Creditor
               Matrix

          I declare under penalty of perjury that the foregoing is true and correct.


         Executed on: 05/21/2024                          /s/ Laura Marcero
                     MM / DD / YYYY                          Signature of individual signing on behalf of debtor



                                                             Laura Marcero
                                                             Printed name

                                                             Independent Directorp
                                                             Position or relationship to debtor




Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
11498061v.2
                   Case 24-11054-BLS        Doc 1      Filed 05/21/24       Page 26 of 27




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                              Chapter 11

    Supply Source Enterprises, Inc., et al.,1           Case No. 24- [____] (___)

                     Debtors.                           (Joint Administration Requested)


                      CERTIFICATION OF DEBTORS’ CREDITOR MATRIX

             In accordance with rule 1007(a) of the Federal Rules of Bankruptcy Procedure and rule

1007-2(a) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), a list of creditors (the “Creditor

Matrix”) of the above-captioned debtors and debtors in possession (the “Debtors”) is filed by

attachment hereto.

             The Creditor Matrix has been prepared from the Debtors’ books and records. The

undersigned, Thomas Studebaker, Chief Restructuring Officer of the Debtors, hereby certifies that

the Creditor Matrix contains the names and addresses of all creditors of the Debtors that could be

ascertained after diligent inquiry, based on a review of the Debtors’ books and records and is

consistent with the information contained therein. To the extent practicable, the Creditor Matrix

complies with Local Rule 1007-1(a). The Debtors reserve the right to amend or supplement the

Creditor Matrix as necessary.




1
  The Debtors in these chapter 11 proceedings, together with the last four digits of each Debtor’s federal tax
identification number, are: Supply Source Enterprises, Inc. (0842); SSE Parent GP, LLC (9632); SSE Parent, LP
(2770); SSE Acquisition Holdings, Inc. (2234); SSE Intermediate, Inc. (1772); SSE Buyer, Inc. (5901); Impact
Products, LLC (7450); and The Safety Zone, LLC (4597). The Debtors’ headquarters are located at 385 Long Hill
Road, Guilford, Connecticut 06437.
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       Although the information contained in the Creditor Matrix is based on a review of the

Debtors’ books and records, the Debtors have not completed a comprehensive legal and/or factual

investigation with regard to possible defenses of the Debtors and their estates to any claims of the

potential claimants included in the Creditor Matrix. In addition, certain of the parties included in

the Creditor Matrix may not hold outstanding claims as of the date hereof, and therefore may not

be creditors of the Debtors and their estates for purposes of these chapter 11 cases. Therefore, the

Creditor Matrix does not and should not be deemed or otherwise construed to constitute either (i)

a waiver of any defense of the Debtors and their estates to any claim that may be asserted against

the Debtors or their estates or (ii) an acknowledgement or admission of the validity, priority, or

amount of any claim that may be asserted against the Debtors or their estates.


Dated: May 21, 2024

                                                     /s/ Thomas Studebaker

                                                     Thomas Studebaker
                                                     Chief Restructuring Officer




                                                 2
